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                                                                                      U.S. BANKRUPTCY COURT
                                                                                    NORTHERN DISTRICT OF TEXAS


                                                                                       ENTERED
                                                                                    TAWANA C. MARSHALL, CLERK
                                                                                        THE DATE OF ENTRY IS
                                                                                       ON THE COURT'S DOCKET



The following constitutes the ruling of the court and has the force and effect therein described.



 Signed March 21, 2014
______________________________________________________________________




                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

                                                )
     In re                                      ) Chapter 15
                                                )
     MtGox Co., Ltd. (a/k/a MtGox KK)           ) Case No. 14-31229-sgj15
                                                )
                Debtor in a Foreign Proceeding. )
                                                )

               ORDER GRANTING ADJOURNMENT OF RECOGNITION HEARING

              Upon the Petitioner’s Motion to Adjourn Recognition Hearing [Dkt. No. 29] (the

     “Motion”), seeking adjournment of the Recognition Hearing currently set for April 1, 2014 and

     to continue to April 2, 2014 if necessary, to May 6, 2014 at 9:30 a.m.; and the Court having

     determined that the relief requested in the Motion is in the best interests of the Debtor, its estate,

     its creditors, and other parties in interest; and it appearing that proper and adequate notice of the

     Motion has been given and that no other or further notice is necessary; and upon the record

     herein; and after due deliberation thereon; and good and sufficient cause appearing therefor, it is

     hereby



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        ORDERED, ADJUDGED AND DECREED that:

        1.      The Motion is GRANTED.

        2.      The Recognition Hearing is hereby adjourned to May 6, 2014 at 9:30 a.m.

 (Prevailing Central Time), before the Honorable Stacey G.C. Jernigan, United States

 Bankruptcy Court, Northern District of Texas, 14th Floor, 1100 Commerce Street, Dallas,

 Texas 75252.

        3.      The hearing set for April 1, 2014 at 1:30 p.m. (Prevailing Central Time) is hereby

 converted to a status conference on discovery and other issues related to the US Litigation

 Matters.

        4.      Responses or objections, if any, to the Petition must be made in writing describing

 the basis therefor and shall be filed with this Court and served upon Baker & McKenzie LLP,

 2300 Trammell Crow Center, 2001 Ross Avenue, Dallas, Texas 75201 (Attention: David W.

 Parham and John Mitchell) and Baker & McKenzie LLP, 300 East Randolph Drive, Suite 5000,

 Chicago, Illinois 60602 (Attention: Erin E. Broderick), United States counsel to the Petitioner,

 so as to be received on or before 4:00 p.m. (Central Time) seven days prior to the Recognition

 Hearing.

        5.      Pursuant to sections 1519(a)(3) and 1521(a)(7) of the Bankruptcy Code, section

 362 of the Bankruptcy Code is applicable to the Debtor and its assets until further order of this

 Court, or as so ordered at the Recognition Hearing.

        6.      The form of notice of adjournment of the Recognition Hearing and setting of

 status conference attached to the Motion as Exhibit B (the “Notice”) is hereby approved.

        7.      Petitioner shall serve copies of this Order and the Notice upon the Notice Parties

 no less than 23 days prior to the Recognition Hearing.




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           8.   Service pursuant to this Order shall be good and sufficient service and adequate

 notice of the adjournment of the Recognition Hearing and of the setting of the status conference.

                                   # # # END OF ORDER # # #

 Prepared and submitted by:

 BAKER & McKENZIE LLP

 /s/ David W. Parham
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 - and -

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 Attorneys for the Petitioner Robert Marie Mark Karpeles,
 Foreign Representative of MtGox Co., Ltd., a/k/a MtGox KK




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